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                        Exhibit 1
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                            SWORN CERTIFICATE OF PLAINTIFFS


 I, Dale Ylitalo, certify that:

     1. I have reviewed the attached Complaint, adopt its allegations, and authorize the filing of a
        Lead Plaintiffs motion on my behalf.

     2. I did not purchase the securities that are the subject of this action at the direction of
        plaintiffs’ counsel or in order to participate in any private action arising under this title.

     3. I am willing to serve as a representative party on behalf of the class and will testify at
        deposition and trial, if necessary.

     4. On August 4, 2023, I, on behalf of my company R4 Construction, LLC, purchased a
        SIMPLE IRA plan from ADP, Inc. wherein ADP, Inc. agreed to withhold from my
        paycheck 6.00% of my pay to invest in American Century Investment, LLC’s One Choice
        2040 Portfolio – R Class, ticker symbol ARDRX.

     5. ADP, Inc. withheld from my paycheck 6.00% of my pay and invested the money in
        American Century Investment, LLC’s One Choice 2040 Portfolio – R Class, ticker symbol
        ARDRX during the Class Period set for in the Complaint as follows (date, buy/sell, amount
        invested/sold, type of security):

         08/17/2023 – Purchased 8.190 shares at $12.21 per share.

         08/31/2023 – Purchased 8.039 shares at $12.44 per share.

         09/14/2023 – Purchased 8.071 shares at $12.39 per share.

         09/28/2023 – Purchased 8.340 shares at $11.99 per share.

         10/20/2023 – Purchased 8.554 shares at $11.69 per share.

         10/26/2023 – Purchased 8.613 shares at $11.61 per share.

         11/09/2023 – Purchased 8.354 shares at $11.97 per share.

         11/24/2023 – Purchased 8.058 shares at $12.41 per share.

         12/07/2023 – Purchased 7.937 shares at $12.60 per share.

         12/21/2023 – Purchased 7.837 shares at $12.76 per share.

         12/21/2023 – Dividend Reinvested, purchasing 1.166 shares at $12.76 per share.
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        12/21/2023 – Longterm Capital Gain Reinvested, purchasing 0.168 shares at $12.76 per
        share.

        01/05/2024 – Purchased 7.905 shares at $12.65 per share.

        01/19/2024 – Purchased 7.843 shares at $12.75 per share.

        02/01/2024 – Purchased 7.728 shares at $12.94 per share.

        02/15/2024 – Purchased 7.686 shares at $13.01 per share.

        02/29/2024 – Purchased 7.634 shares at $13.10 per share.

        03/14/2024 – Purchased 7.570 shares at $13.21 per share.

        03/28/2024 – Purchased 7.446 shares at $13.43 per share.

    6. These purchases are ongoing through the ADP, Inc. SIMPLE IRA.

    7. I have not sought to serve, nor served, as a representative party on behalf of a class under
       this title during the last three years.

    8. I will not accept any payment for service as a representative party, except to receive my
       pro rata share of any recovery or as ordered or approved by the Court, including the award
       to a representative plaintiff of reasonable costs and expenses (including lost wages) directly
       relating to the representation of the class.

 I declare under penalty of perjury that the foregoing are true and correct statements.

      7-5-24
 ______________________                               ______________________________
 Date                                                 Dale Ylitalo
